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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case
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                                        UNITED STATES.DISTRICT COURT
                                                                       forthe
                                                               District of Oregon

                                                                 Eugene Division


                                                                         )
                                                                         )
                                                                                Case No.                lo: Ig -Lv· DD'-655 -,'b k'.'.:..
                                                                                                         (to be filled in by the Clerk's Office)
                                                                         )
     ~                        Plaintiff(s)                               )
(Write the full name of each plaintiff who is filing this complaint.     )
If the names of all the plaintiffs cannot fit in the space above,               Jury Trial: (check one)
please write "see attached" in the space and_attach an additional        )
page with the full list of names.)                                       )
                                  -v-                                    )

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                               Defendant(s)                              )
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please        )
write "see attached" in the space and attach an additional page          )
with the full list o.{_names.)



                                                   COMPLAINT FOR A CIVIL CASE


I.        The Parties to This Complaint
          A.         The Plaintiff(s)
                                                                                                                                      '
                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed. ·
                                Name
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address


          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed.


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                          Defendant No. 1
                                     Name
                                     Job or Title (if known)
                                     Street Address
                                     City and County
                                     State and Zip Code
                                     Telephone Number
                                     E-mail Address (if known)


                          Defendant No. 2
                                     Name
                                     Job or Title (if known)
                                     Street Address
                                     City and County
                                      State and Zip Code
                                     Telephone Number
                                     E-mail Address (if known)


                          Defendant No. 3
                                     Name
                                     Job or Title (if known)
                                     Street Address
                                     City and County
                                     State and Zip Code
                                     Telephone Number
                                     E-mail Address (if known)


                          Defendant No. 4
                                     Name
                                     Job or Title (if known)
                                     Street Address
                                     City and County
                                     State and Zip Code
                                     Telephone Number
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II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff. .

          What is the basis for federal court jurisdiction? (check all that apply)
                  G'Federal question               ··-·P                    D Diversity of citizenship
          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case._                                               _   Vf ()L/lni /V O F     t,L.~ {!qy~JU.,V..U~ax-J          l/fh,
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          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.         The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff, (name)                JV/4fl/e~ J%Ai6                              , is   acitizen of the
                                           State of (name)            {!tl/e;Pf;llT   J'rttrE Ck:Jo/V                .
                                b.         If the plaintiff is a corporation            N<1f ,4. C w p ~
                                           The plaintiff, (name)                                                             , is incorporated
                                                                            -----------------
                                           under the laws of the State of (name)
                                           and has its principal place of business in the State of (name)



                                (If more than one plaintiff is named in the complaint, attach an additional page providing'the
                                same information for each additional plaintiff.)

                     2.         The Defendant(s)

                                a.         If the defendant is an individual
                                           The defendant, (name)                    f!:vvl,4L:::::2--1'L                    - , is a citizen of

                                           the State of (oo"'fi             p
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                                                                                                                         . Oris a citizen of
                                           (foreign nation)          t}/4~ a{'J j     _                                  VlMA-v/-vi/g~
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                                  b.       If the defendant is a corporation
                                           The defendant, (name)
                                                                     ---------~----
                                           the laws of the State of (name)     _____________,
                                           principal place of business in the State of (name)
                                                                                                         ______    , is incorporated under
                                                                                                                              ' and has its


                                           Or is incorporated under the laws of (foreign nation)
                                           and has its principal place of business in (name)

                                                                                                    .                               '
                                (If more than one defendant is named in the complaint, attach an additional page proviaing the
                                same information for each additional defendant.)                             · ·-

                     3.           The Amount in Controversy

                                  The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                  stake-is more than $75,000, not counting interest and costs of court, because (explain):

                                                                    1;, 5        8ii I/0"1 ol,/ll(Y15 -

III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
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          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.                       ¢                                                      -
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V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost oflitigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.


                     Date of signing:


                     Signature of Plaintiff
                     Printed Name of Plaintiff


          B.         For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                      Street Address
                      State and Zip Code
                      Telephone Number
                     E-mail Address




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